Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 1 of 32




                   Exhibit 18R
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 2 of 32




                                    MEMORANDUM

TO:             Patrick A. Juneau, Claims Administrator

FROM:           Lynn C. Greer

DATE:           August 2, 2012

RE:             Final Recommendations on Policy Issues

______________________________________________________________________________

We first circulated this memo on July 30, 2012, to seek input from the Parties on the policy
issues it contains. We have received comments from BP and from Class Counsel to each of the
issues raised. After reviewing these comments and after consultation with the Accountants, our
expert review teams, and in our discussions with you, we present final recommendations for your
consideration. This version of the memo restates the original issue and recommendation, inserts
comments from BP and Class Counsel, indicates whether the Parties are in agreement, and then
presents the “Program’s Final Recommendation.” I believe that any unresolved issue may be
discussed at the meeting currently scheduled for 4 p.m. CT on Tuesday, August 7, 2012.

1. Business Economic Loss Claims: Multi-Facility Businesses.
         (a) Accountants’ Question: If under the GCCF a claimant filed a consolidated claim
             and was paid and the claimant then files individual claims for each facility location
             under the New Facility, how will those previous payments be applied to these claims?
             For example, FIFO?
            (1) Accountant’s First Recommendation: Assuming all individual claims for each
                Facility is tracked collectively under the new administration then we will apply
                the GCCF payments against each specific facility on a one for one basis assuming
                gains and losses for each location were not offset. If gains and losses were offset
                in connection with the GCCF consolidated claim then we will need to allocate the
                gain on a pro-rata basis.
            (2) Accountant’s Clarified Recommendation. Offsets for prior BP, GCCF, VoO
                and/or Real Estate Fund Payments will be applied on a First-In, First-Out basis.
                For example, assume a Multi-Facility business is filing separately for three
                Claiming Facilities and the aggregate amount of all prior payments to the claimant
                is $50,000. The offsets would be applied as follows:



                                                 1
410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 3 of 32




                   Facility #1
                   Calculated Losses Before Offsets: $20,000
                   Less: Offsets Applied:             ($20,000)
                   Total Net Compensation:                   $0
                   Facility #2
                   Calculated Losses Before Offsets: $35,000
                   Less: Offsets Applied:             ($30,000)
                   Total Net Compensation:              $5,000
                   Facility #3
                   Calculated Losses Before Offsets: $20,000
                   Less: Offsets Applied:                ($0)
                   Total Net Compensation:           $20,000
                   Total Compensation for all Three Facilities: $25,000


BP’s Response: BP agrees that where GCCF previously paid for a consolidated claim that
included facilities located both within and without the class geography, and the current claim is
for a facility within the class geography, it is appropriate to allocate the GCCF payment so that
the offset is only for the portion of that GCCF payment attributable to the in-class facilities. BP
believes the Claims Facility should use their best judgment to do that, taking into account the
relative share of losses, if that can be determined, or other data.

With respect to situations where GCCF paid for a consolidated claim where all facilities were in
the class geography and the claimant now asserts claims on behalf of only some facilities, BP
agrees with the Claims Facility’s proposed approach of offsetting on a FIFO basis. Presumably
the GCCF payment was in respect of losses attributable to those facilities that now are making
claims.

Class Counsel’s Response: Class Counsel stands by its position. If the individual claimants are
class members and have not previously released their claims, they are entitled to file a claim. A
claim can only be offset by a prior payment if it was for the same loss. Therefore, before the
accountants can apply their presumed FIFO approach, they must determine that the prior
payment was for the same loss.

Do Parties’ Comments Provide Resolution? No

Program’s Final Recommendation: Prior payments (e.g., BP, GCCF, VoO and/or Real Estate
Fund Payments) issued to claimants with a consolidated claim in the GCCF will be treated as an
advance payment against any calculated losses for a Multi-Facility Business filing consolidated
or individual claims for each facility location under the New Facility and will be deducted from
the total compensation amount as calculated by the New Facility on a First-in, First-out basis.

2. Business Economic Loss Claims: Start-Up Businesses.
       (a) Accountants’ Question: Are claimants that do not generate revenue prior to April
           20, 2010 excluded from the program?

                                                 2
#410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 4 of 32




       (b) Recommendation: If a business can establish that it incurred Start-Up expenses prior
           to the Spill it would qualify for compensation.


BP’s Response: The Start-Up Framework requires less than 18 months of “operating history”
prior to the spill. “Operating history” reasonably is read to mean open for business and
generating revenue. It may be that in some circumstances a business is incurring final start- up
expenses that do not generate revenue until one or two months after they are incurred. In such
circumstances, BP agrees that the Claims Facility should be able to exercise judgment to identify
such circumstances, but believes that in any event revenues should be generated within a short
time after the oil spill. Class Counsel’s proposal would permit recovery under the Start-Up
Framework even for claimants that incurred no startup expenses prior to the spill. See also BP’s
response to 5 below.

Class Counsel’s Response: Class Counsel can accept the recommendation so long as there is an
affirmative denial on the specific and express basis that they are not members of the Class.

We have defined the class as any business that “at any time from April 20, 2010 to April 16,
2012 owned, operated or leased a physical facility” in the class geography. A business that opens
on August 1, 2010 could be a Start-Up because it has zero (less than 18 months) of operations
history before the spill. It is also located in the Gulf Coast Area prior to April 2012. If the
business doesn’t meet the definition of a Start-Up because it doesn’t have expenses prior to April
20, then it can’t be a class member. The intent of Section 1.3 was to avoid the situation where
Class Members were not provided with any potential avenue for compensation under the
Frameworks provided.

Do Parties’ Comments Provide Resolution ? No

Program’s Final Recommendation: If a business can establish that it incurred Start-Up
expenses prior to the Spill it will qualify for compensation.

3. Business Economic Loss Claims: Economic Loss Zones
       (a) Question: If a BEL Claimant is physically located in one Zone, but the Claimant’s
           business activity, sales or service activity, or revenue source is located in a different,
           more preferable Zone, which do we apply?
       (b) Examples to Guide Discussion.
           (1) ABC Construction Co., Inc. has an office that is physically located in
               Birmingham, AL (Zone D). At the time of the spill, ABC Construction Co., Inc.
               was performing Construction services at active worksites in Gulf Shores, AL
               (Zone A), Broussard, LA (Zone B), and Panama City, FL (Zone C). ABC
               Construction Co., Inc. does not own or maintain a permanent office in any of
               these locations.
               Recommendation. Apply Zone D. While the Claimant has business activity in
               more preferential Zones, all business activity is routed through its Zone D office.
                                                3
#410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 5 of 32




               A provision in Exhibit 8A allows an individual claimant to prove a location of
               loss other than his or her employer’s physical location; however, there is no
               comparable provision for BEL Claimants. Alternative: Advise the Claimant to
               file a Multi-facility Business Claim. If the Claimant provides specific financial
               data from each worksite, we can review each site as a separate claim and apply
               the various Zone rules as applicable. If not, the office will be treated as HQ, and
               we will apply the rules for that Zone.
           (2) John Smith is a Taxi Driver contracted through American Cab Company, whose
               sole office and Dispatch Center is located at 10 Poydras Street, New Orleans, LA
               70130 (Zone B). John files a Schedule C with expenses and files a BEL Claim.
               John’s dispatches take him throughout the greater New Orleans Area, but the
               majority of his calls or fares are to and from New Orleans International Airport in
               Kenner, LA (Zone D).
               Recommendation: Use the dispatch office as the location of John’s business. All
               of his business and revenues are routed through this office, and it is the most
               centralized location.
BP’s Response: BP agrees with the recommendation for example (1). BP disagrees with the
proposed alternative because the Multi-Facility Framework does not apply. That framework
requires a separate “facility,” which does not exist here. BP agrees with the recommendation for
example (2).

Class Counsel’s Response:

       (1) Class Counsel generally agrees with the recommendation with one exception. The
           recommendation refers to a permanent office in any of these locations, and under
           Section 1.2.1 it is “at any time from April 20, 2010 to April 16, 2012, owned,
           operated or leased a physical facility . . .” There is no requirement that the facility be
           “permanent” in order to be an entity within the Class.
       (2) Class Counsel would agree with (2) under the facts given. However, if John Smith’s
           dispatch office kept him in the French Quarter, then this should be treated as Zone A.

Do Parties’ Comments Provide Resolution? Yes

Program’s Final Recommendation: Use the Economic Loss Zone that applies to where a BEL
Claimant is physically located, even if the Claimant’s business activity, sales or service activity,
or revenue source is located in a different, more preferable Zone.


4. Business Economic Loss Claims: Loss Location Outside the Zone
      (a) Question: If a BEL Claimant is physically located outside the Economic Loss Zones,
          but the Claimant’s business activity, sales or service activity, or revenue source is
          located within one of the Economic Loss Zones, should we treat that claimant as
          excluded from the class or use the Zone where the business activities occurred?
                                                4
#410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 6 of 32




       (b) Examples to Guide Discussion.
           (1) XYZ Trucking Co., Inc. has an office and transfer hub in Charlotte, NC (Outside
               Gulf Coast Area). Drivers who are full-time employees of XYZ Trucking Co.,
               Inc. routinely travel from Charlotte, NC to various locations in all zones of the
               Gulf Coast Area, as well as various locations outside the Area. These drivers are
               full-time employees that live in Charlotte but work in the Gulf Coast Areas for
               part of the time. XYZ Trucking Co., Inc. does not own or maintain any
               permanent location anywhere outside of Charlotte, NC. It is a service business.
               Recommendation. Deny the Claim as not compensable. This Claimant is a
               member of the Class, maintaining full-time employees (including owner-
               operators) in the Gulf Coast Area, but the Claimant itself is not located in any
               Eligibility Zone. While this claimant may have suffered a loss due to the spill,
               such losses cannot be compensated if the Claimant does not maintain any location
               in the Zone. Alternative: Advise the Claimant to file a Multi-facility Business
               Claim. If the Claimant provides specific financial data from each delivery route,
               we can review each site as a separate claim and apply the various Zone rules as
               applicable. If not, the office will be treated as HQ, and the claim will be denied as
               outside the Zone.
           (2) Beach Products Distribution, LLC is an internet-based beach novelty distributor
               and has an office and distribution center in Memphis, TN (Outside Gulf Coast
               Area). All of Beach Products Distribution’s sales are to retailers along the Gulf
               Coast, in Zone A. Beach Products Distribution does not maintain any physical
               location or have any full time employees physically located in the Gulf Coast,
               uses phone and internet sales for all of its ordering, and uses common carriers for
               delivery. However, the Claimant insists that its loss is directly tied to the
               Deepwater Horizon incident.
               Recommendation. This Claimant is not a Member of the Class. All Claimants
               must be able to demonstrate that they are members of the Class under Section 1.2
               of the Settlement Agreement in order to file a Claim, even if Causation is clear.
BP’s Response: BP agrees with the recommendation for example (1). If employees drive in and
out of the Gulf Coast Areas, and to other areas, the business is not within the class, because the
employees are not “full time employees who performed their full-time services while physically
present in the Gulf Coast Areas.” See Settlement Agreement § 1.2.2. Furthermore, BP disagrees
with the proposed alternative because the Multi-Facility Framework does not apply. That
framework requires a separate “facility,” which does not exist here. With respect to example (2),
BP agrees with the recommendation.

Class Counsel’s Response:

      (1) Class Counsel does not believe that XYZ Trucking Co. is a Class Member unless the
          alternative suggested by the Claims Administrator is allowed. If XYZ Trucking
          Company is not allowed to treat each route as a physical location or physical facility,
          then it is an entity with its HQ outside of the Gulf Coast Area that does not own,
                                                 5
#410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 7 of 32




           operate, or lease a physical facility in the Gulf, and, treating it as a service business,
           the operators do not perform their full-time services while physically present in the
           Gulf because the hypothetical has them going to Charlotte, NC routinely. Therefore,
           in the absence of the alternative being applied, we do not think XYZ is a Class
           Member and does not meet the definition of “entity” in Section 1.2.
       (2) Class Counsel agrees that Beach Products Distribution, LLC is not a Class Member.
Do Parties’ Comments Provide Resolution? Yes

Program’s Final Recommendation: If a BEL Claimant is physically located outside the
Economic Loss Zones, that claimant is excluded from the class unless that claimant has “full
time employees who performed their full-time services while physically present in the Gulf
Coast Areas.” This rule applies even if the Claimant’s business activity, sales or service activity,
or revenue source is located within one of the Economic Loss Zones.

5. Business Economic Loss Claims: Start-Up Businesses
       (a) Accountants’ Question: The accounting team requires clarification on how
           operating history shall be defined.
       (b) Recommendation: For purposes of inclusion in the Start-Up framework, define
           operating history as the date that a Start-Up business begins incurring Start-Up
           expenses or begins bringing in revenues, whichever is most beneficial for the
           claimant. However, only months in which the business was open for business would
           be considered compensable months.
BP’s Response: BP agrees.
Class Counsel’s Response: See Class Counsel Comments re Issue No. 2.
Do Parties’ Comments Provide Resolution ? Yes
Program’s Final Recommendation: For purposes of inclusion in the Start-Up framework, we
will define operating history as the date that a Start-Up business begins incurring Start-Up
expenses or begins bringing in revenues, whichever is most beneficial for the claimant.
However, only months in which the business was open for business will be considered
compensable months.
6. Business Economic Loss Claims: Start-Up Businesses
       (a) Accountants’ Question: Will an existing business that was acquired during the
           Start-Up period be treated as a Start-Up Business?
       (b) Recommendation: Yes. The use of a previous owner’s financial statements to
           perform the standard BEL calculation would be problematic.
BP’s Response: BP disagrees with the recommendation. If a business has more than “18 months
of operating history,” it does not meet the definition of a “Start-Up Business.” It should proceed
under the Business Economic Loss framework.
                                                  6
#410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 8 of 32




Class Counsel’s Response: If a business was in operation and new ownership took over, it
should not automatically revert to a start-up. Many businesses in the Gulf are family owned; it
could simply be that the new owner is a different family member. If the business doesn’t undergo
a fundamental change and was operating prior to the spill (i.e. was not otherwise a “start-up”), it
should generally be considered a standard business under the BEL rules if the claimant can
document the claim with financials. The claimant should have the option for whichever available
methodology provides the highest compensation.

Do Parties’ Comments Provide Resolution? No

Program’s Final Recommendation: A newly-acquired business should be considered a
standard business under the BEL rules if the claimant can document the claim with financials
from prior ownership to establish operating history for a benchmark period, a 2010 compensation
period, and 2011 (if needed for causation) as required by the framework. However, if the
business undergoes a fundamental change in operating activities in the course of the change of
ownership, the Claims Facility will use judgment to determine if the business fits the Start-Up or
BEL framework.

7. Business Economic Loss Claims: Start-Up Businesses
       (a) Accountants’ Question: Is the allowable timeframe for projections, May 2010 –
           April 2011 or May 2011 to April 2012? The settlement agreement does not specify.
           What was the intent of not specifically specifying the timeframe?
       (b) Recommendation: Need guidance on the intent of the settlement agreement.
BP’s Response: The projections should be for the period May 2010-April 2011, because they
are intended to serve as an alternative benchmark against which to compare actual performance
during that period.

Class Counsel’s Response: Under Sections 4.3.7-4.3.8 and the other obligations of the Claims
Administrator, the Administrator is supposed to allow the Claimant the benefit of the greatest
compensable loss and should allow the Claimant to select either projection as its measure.

Do Parties’ Comments Provide Resolution? No

Program’s Final Recommendation: The projections should be for the period May 2010
through April 2011.

8. Business Economic Loss Claims: Documentation Requirements
       (a) Accountants’ Question: In certain industries it is common for an entity to report
           revenue and expenses on a periodic basis as opposed to monthly and annual profit and
           loss statements. For example in the food service industry it is common for entitles to
           report on thirteen periods (28 day cycles) in a fiscal year versus twelve months in a
           calendar year. The framework requires that a business claimant must provide

                                                7
#410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 9 of 32




          monthly and annual profit and loss statements (which identify individual expense line
          items and revenue categories), or alternate source documents establishing monthly
          revenue and expenses for the claimed Benchmark Period, 2010 and, if applicable,
          2011. If a claimant in the regular course of business reports on periods other than
          monthly and annual periods, as required by the framework, how should the fiscal
          periods be converted to conform to the framework?
       (b) Recommendation: We recommend that the accountants at the Deepwater Horizon
           Claims Center have the ability to convert the 13-period revenue and expense
           statements into a twelve month year by allocating each period's revenue and expense
           items into their respective months. For example, if Period 1 starts on 1/1 and ends on
           1/28 and Period 2 starts on 1/29 and ends on 2/25, 100% (28 days / 28 days) of the
           Period 1 revenue and expenses will be included in January as well as 10.71% (3 days
           / 28 days) of Period 2 revenue and expenses. The remaining 89.29% (25 days / 28
           days) of the Period 2 revenue and expenses will be included in February.
BP’s Response: BP agrees with the recommendation.
Class Counsel’s Response: Class Counsel defers to the recommendation.
Do Parties’ Comments Provide Resolution? Yes
Program’s Final Recommendation: The Program’s accountants have the ability to convert the
13-period revenue and expense statements into a twelve month year by allocating each period's
revenue and expense items into their respective months. For example, if Period 1 starts on 1/1
and ends on 1/28 and Period 2 starts on 1/29 and ends on 2/25, 100% (28 days / 28 days) of the
Period 1 revenue and expenses will be included in January as well as 10.71% (3 days / 28 days)
of Period 2 revenue and expenses. The remaining 89.29% (25 days / 28 days) of the Period 2
revenue and expenses will be included in February.
9. Business Economic Loss: Failed Businesses
       (a) Accountants’ Question: How are assets being defined as used in "Liquidation Value
           of assets"? Assets meaning both current and/or long term assets e.g., current assets;
           cash, accounts receivables, marketable securities and/or long term assets; plant,
           property, equipment? Example: Claimant had a dental practice that commenced
           operations prior to November 1, 2008 that was closed November 6, 2010. The dental
           practice equipment sold for $30,000 while total distributions from closing the dental
           practice were $110,000. Is “liquidation of value of assets” the proceeds the owner
           received from the sale of the dental equipment $30,000 or is it the total distributions
           the owner received from liquidating their business (sale of equipment $30,000 + cash
           distribution $80,000)?
       (b) Recommendation: For purposes of inclusion in the Failed Business Compensation
           framework, define assets in Liquidating Value of assets to mean all assets received
           from liquidating a failed business both current and long term assets.



                                                8
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 10 of 32




BP’s Response: BP agrees with the recommendation to define assets in Liquidating Value of
assets to mean all assets received from liquidating a failed business, both current and long-term
assets.
Class Counsel’s Response: Class Counsel disagrees with the Recommendation. It would be
inappropriate to take cash received that was in existence prior to the Spill as part of the offset
value for the loss. It should only be the value received from liquidating the long-term assets,
plant, property and equipment.
Do Parties’ Comments Provide Resolution? No
Program’s Final Recommendation: For purposes of inclusion in the Failed Business
Compensation Framework, define assets in Liquidating Value of assets to mean total net assets
received from liquidating a failed business both current and long term assets. However, an
accounting of the cash account may be required to identify cash that may have accumulated
(from operations) over time, or received because of liquidating an asset.

10. Business Economic Loss: Churches without Tax Returns
       (a) Question: We recently received a question from a law firm that represents a church
           that is attempting to file a BEL claim. This church is not required to file a tax return,
           so the firm is concerned that the church would not be able to satisfy the BEL
           document requirements.
       (b) Recommendation: According to the Settlement Agreement and the responses from
           the Parties on the Framework Questions, Non-Profit Organizations are included in the
           Class; however, a strict interpretation of Exhibit 4A suggests that a church that does
           not file Federal tax returns cannot satisfy the document requirements for BEL claims.
           Exhibit 4A of the Settlement Agreement states that “a business claimant must provide
           the following … federal tax returns (including all schedules and attachments for the
           years included in the claimant-selected Benchmark Period, 2010, and, if applicable,
           2011.”
           We verified that churches are exempt from filing an annual Federal tax return (a Form
           990) if they have gross income of less than $1,000 for the taxable year from the
           conduct of any “trade or business, regularly carried on, that is not substantially related
           to the charitable, educational, or other purpose that is the basis of the organization's
           exemption.” We also verified with the IRS that they do not issue such churches any
           sort of documentation to certify that they are not required to file a tax return for a
           given year.
           To address this situation, we recommend that the Program allow churches to satisfy
           the Federal tax return requirement in Exhibit 4A by providing a Verification of
           Nonfiling from the IRS, together with the church’s organizational documents. A
           Verification of Nonfiling is proof from the IRS that the claimant did not file a return
           for the applicable year. Claimants can obtain this document free of charge by
           submitting a Form 4506-T Request for Transcript of Tax Return to the IRS and
           checking Box 7, by visiting IRS.gov and clicking on “Order a Transcript”, or by
                                                  9
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 11 of 32




           calling 1-800-908-9946. While this document does not certify that the entity was not
           required to file taxes for a given year, we feel that this document, together with
           organizational documents indicating that the entity is a Non-Profit organization with a
           religious purpose, should be sufficient for our purposes as proof that a church was not
           required to file a Federal tax return.
BP’s Response: BP agrees with the recommendation to the extent that the claim involves
reimbursement for losses of activity-related revenues reported on lines 2 and 10 of IRS Form 990
and not donations or contributions.

Class Counsel’s Response: Class Counsel agrees with the recommendation.

Do Parties’ Comments Provide Resolution? Yes

Program’s Final Recommendation: We will allow churches to satisfy the Federal tax return
requirement in Exhibit 4A by providing a Verification of Nonfiling from the IRS, together with
the church’s organizational documents.

11. Review, Reconsideration, and Appeal Questions. (See attached memorandum for full
    discussion of the issues raised by Class Counsel, with the Claims Administrator’s
    Recommendations.)
BP’s Response:

--Opportunities to Perfect a Claim: BP respectfully disagrees with the recommendation. The
Settlement as drafted is claimant-friendly and provides for multiple opportunities to perfect an
appeal. BP does not believe it is appropriate to depart from the agreed upon processes with
regard to perfecting claims. BP also believes that the memo’s description of the review process
for “Fatally Incomplete” claims is incorrect. The Section 6.1.1 “Re-Review” process that the
memo discusses on page 2 is the appellate process for claims denied for insufficient
documentation, not a separate pre-appeal review.

--Section I.A.2.c: While BP does not believe it was intended by the author of the memo, it is
possible to read some of the language in this section of the memo to suggest that additional
documentation may be submitted on appeal. That would be incorrect. Section 6.4 of the
Settlement Agreements provides for review of the “record” “in the Settlement Program.

--Claimants’ Access to Information: BP does not object to the provision of Accountant
workbooks provided that access is given to both the claimant and BP.

--Timeframe for BP Appeals: BP agrees with the description in Section II.D.1.

Class Counsel’s Response: Class Counsel generally agrees with the recommendation in
Section I(B)(2)(c) of Lynn’s Memo.2 Just to provide additional context / background / support,
for the Program’s reference, the “up to three times” language in Section 6.1 was intended
primarily to address denials. This, however, would depend on the circumstances: If, for example,
it were absolutely clear that the person was not a class member or could otherwise never qualify,
                                                 10
#410697
    Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 12 of 32




the Program was not expected to solicit (or even allow, beyond formal Reconsideration)
additional chances. If a business, however, was close on a causation test, for example, it would
generally get up to three chances to submit additional documentation, etc, to try to establish
causation. (Not necessarily that the Claim or the Documentation was “incomplete” but simply
that it didn’t establish eligibility; although additional documentation, etc, might.) With respect,
however, to claims that either required more documentation, or received Determinations at a
level that was lower than the Claimant submitted / could have submitted / believed that he or she
was entitled to, (while the total number of “attempts” or “communications” would likely be case-
/ circumstance- / claimant-specific), the 6.1 language was intended to be specifically modified by
the introduction: “Subject to and in accordance with 4.3.7 and 4.3.8….”

Class Counsel agree with the recommendation in Section II(C)(2) of Lynn’s Memo. The
Claimant, BP and Class Counsel should all be provided with the Program’s analysis at the time
of the Determination.

Class Counsel strongly disagree with the Recommended Process on the flowchart with respect to
the issue identified in Section II(D). Allowing BP to wait until there is either a formal
“acceptance” or the 30-day period lapses before filing an appeal creates unnecessary and
unwanted delay. Rather, BP’s appeal rights should trigger at the point BP is notified of the
Determination. BP doesn’t need to know whether the Claimant will ask for Reconsideration in
order for BP to determine whether BP believes that the Administrator appropriately applied the
terms of the Settlement Agreement.3
2
 See Lynn Greer, POLICY ISSUES AFFECTING CLAIMANTS’ ACCESS TO INFORMATION, CHANCES TO
PERFECT CLAIMS, AND RECONSIDERATION/APPEAL STEPS, July 30, 2012.
3
 Obviously, if the Determination were revised based upon the Claimant’s request for Reconsideration, a Re-Review,
or otherwise, the time limit would start again for BP to appeal the revised Determination.

Do Parties Comments Provide Resolution? Yes on access to the Accountants’ workbooks, but
not on injection of a Re-review step or when BP’s Appeal rights are triggered.

Program’s Final Recommendations:


     (a) When BP’s Appeal Rights are Triggered. The Claims Administrator has reviewed the
         Settlement Agreement and has considered the possible delay to a claimant by waiting
         until the expiration of the 30 day window for Reconsideration to pass before BP’s Appeal
         rights are triggered. Recognizing that triggering BP’s appeal rights from the first Notice
         of Eligibility may result in the need for the Claimant and BP to exchange information
         pursuant to the Appeal protocols before the Reconsideration window has passed, the
         Claims Administrator nevertheless believes that, on balance, the Program should be set
         up to trigger BP’s Appeal rights at the time of the initial Eligibility Notice.
   (b) Re-Review Option for Ineligible and Eligible Claims. The Claims Administrator has
       considered the ripple effects and complications of injecting a formal Re-Review step into
       the process before the Reconsideration step provided in the Settlement Agreement.
       Although the Program needs to be flexible enough to work with claimants to ensure that
                                               11
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 13 of 32




       full consideration is given to all of the documentation provided with the claim, we have
       concluded that injection of a formal Re-Review step will create unnecessary
       redundancies and complexities. Accordingly, the following timeline will apply to
       claimants, depending on whether the Program issues a Notice of Eligibility or a Denial
       Notice:
Notice of Eligibility:

       (1) Initial Notice of Eligibility issued, and BP’s Appeal rights are triggered.
       (2) Within 30 days, Claimant requests Reconsideration and may submit additional
           documentation. If the Claimant requests Reconsideration, the Appeals process stops.
       (3) We re-review the claim and issue a Post-Reconsideration Eligibility Notice.
       (4) BP’s Appeal rights are triggered anew.
       (5) The Claimant’s appeal rights are also triggered. The Claimant may not submit any
           new documentation on appeal. After the Claimant submits the appeal and pays the
           appeal fee, the Program will review the Claimant’s submission before sending the
           claim to the Appeals Panel. If, during that review, we discover that we made an error
           or failed to take into consideration a previously submitted document, we will have the
           flexibility to issue a revised Post-Reconsideration Notice. At that time, the Program
           would return the appeal fee paid by the claimant, and BP will have the chance to
           review the new Determination and note an Appeal from that determination.

Denial Notice: If the Program denies a claim for a reason other than Incompleteness, the
following timeline will apply:

       (1) Denial Notice issued.
       (2) Within 30 days, Claimant requests Reconsideration and may submit additional
           documentation.
       (3) We re-review the claim and issue a Post-Reconsideration Notice.
       (4) If the Post-Reconsideration Notice is a denial, the claimant’s appeal rights are
           triggered. The Claimant may not submit any new documentation on appeal. After the
           Claimant submits the appeal and pays the appeal fee, we will review the Claimant’s
           submission. If, during that review, we discover that we made an error or failed to
           take into consideration a previously submitted document, we will have the flexibility
           to issue a revised Post-Reconsideration Notice. At that time, the Program would
           return the appeal fee paid by the claimant.
       (5) If the Program, at any time after an initial Denial Notice, issues a Notice of
           Eligibility, the timeline following the Notice of Eligibility described above will apply.

   (c) Access to Accountants’ Workbooks. The Program will make the Accountants’ workbooks
       available upon the issuance of the initial Notice of Eligibility. We should discuss on
       8/7/12 whether to make these available only if the claimant requests it, or for everyone.




                                                12
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 14 of 32




12. VoO Charter Payment: Presumption of Training.
       (a) Claims Administrator Question. May we presume the VoO training requirement is
           satisfied if we can determine the claimant to be a Working VoO Participant based on
           the VoO Master Database or independent proof of VoO payments or decontamination
           documentation?


       (b) Recommendation: We recommend modifying our VoO claims review process to
           presume the VoO training requirement is satisfied if we can determine the claimant to
           be a Working VoO Participant based on the VoO Master Database or independent
           proof of VoO payments or decontamination documentation. We still will require
           proof of training if the claimant is a Non-Working VoO Participant because no
           presumption can be made about the VoO training if they were never dispatched or
           placed on-hire. We recommend this policy change because it: (1) is logical to
           presume completion of VoO training if we have proof of VoO payments or
           decontamination efforts using BP’s own database or previously approved payments to
           VoO participants; and (2) will reduce the number of Incompleteness Notices that are
           frustrating claimants.


BP’s Response: BP respectfully requests that the Claims Administrator reconsider in several
respects its recommendation that the VoO claims review process be modified to presume the
VoO training requirement is satisfied if there is proof of VoO payments or decontamination
documentation.

As noted in your email, the premise for this CA recommendation is that it “is logical to presume
completion of VoO training if we have proof of VoO payments or decontamination efforts using
BP’s own database or previously approved payments to VoO participants.” As explained below,
while such a presumption is logical in certain circumstances, it would be inaccurate to apply this
presumption as broadly as proposed by the CA recommendation in light of actual VoO program
practices.

As an initial matter, the fact that a VoO Claimant obtained a decontamination document does not
mean the Claimant was dispatched or placed on hire. It was BP’s practice to allow VoO
Program participants to take any vessel that participated in the VoO program, regardless of
whether or not it was ever put on-hire, to a decontamination station for inspection and
decontamination if it was needed based on the inspection, and such participants would then
receive a U.S. Coast Guard Verification of Final Decontamination document. In practice,
vessels never put on-hire did obtain such decontamination documents for at least several
reasons. First, some VoO participants with vessels that participated in the VoO program (by
signing an MVCA) but which were never put on-hire were interested in obtaining a document
showing that their vessel was clean to show future employers (or others) if the question ever
arose. Second, BP would pay VoO participants that went to decontamination one day’s pay to
compensate them for their time. The effect of this was that many vessels that were never put on-
hire did go to a decontamination station for inspection and received the Verification of Final
Decontamination document from the Coast Guard. Also, in August and November of 2010, BP
                                               13
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 15 of 32




sent letters terminating the MVCAs. These letters were titled “Notice of Non-renewal of Master
Vessel Charter” and were sent to all VoO participants that signed an MVCA, regardless of
whether they were ever put on hire. This letter states “If you have not had your vessel properly
decontaminated and an off-hire survey performed please immediately contact your local Vessel
of Opportunity coordinator to schedule your off-hire survey and decontamination as soon as
possible.” Based on this request, vessels that were never put on-hire went to get a
decontamination inspection. Moreover, it was the plaintiffs’ position in the VoO lawsuits that
VoO participants should be paid from the time they signed the MVCA until the time they
received a decontamination certificate from the U.S. Coast Guard, regardless of whether or not
they were on-hire. Accordingly, BP understands that some VoO participants may have gone in
for decontamination, even if they did not get placed on-hire, to increase their claim for damages.
These factors caused an influx of vessels to show up at decontamination stations well after the
VoO program had ended. It is for this reason that the U. S. Coast Guard issued a policy
statement in March 2011 stating that once a vessel had been out of the response for 60 days, “all
decontamination issues regarding the vessel shall be considered closed and no further
investigations or inspections shall be conducted.”

Likewise, the fact that a claimant received a VoO payment is not sufficient to establish that the
claimant was ever dispatched or placed on-hire and does not necessarily mean the claimant
attended VoO training. VoO participants may have received payment for various reasons – none
of which mean they were on-hire. For example, VoO participants that were never placed on hire
may have received payment for i) attending training, ii) going to a decontamination station (even
though they never worked in the response), and iii) early on in the VoO program, VoO
participants were sometimes reimbursed for gas or other expenses associated with attending
training or with attending town hall meetings where the VoO program was discussed even
though they were not on-hire. BP agrees, however, that if a VoO claimant received payment for
five days or more (including pay for crew) for one vessel, it is reasonable to assume that the
claimant was placed on-hire. Accordingly, the following table lists the minimum payment, by
vessel size, at which it is reasonable to assume that a claimant was placed on-hire.

 Vessel       Daily     Five Days    Number            Daily       Total     Total     Amount of
 Length       Hire       of Hire      of Crew         Payment      Crew     Payment     Payment
                                     Members          For Each    Pay for     for         For a
                                     Required          Crew        Five     Training    Vessel at
                                     Under the        Member       Days     Captain    Which On-
                                      MVCA                                    and      Hire Status
                                                                             Crew        Can Be
                                                                                       Reasonably
                                                                                        Presumed
Greater     $3,000      $15,000      3            $200           $3,000     $800       $18,800
than 65’
45’ - 65’   $2,000      $10,000      3            $200           $3,000     $800       $13,800
41’ - 45’   $1,500      $7,500       3            $200           $3,000     $800       $11,300
30-40’      $1,500      $7,500       2            $200           $2,000     $600       $10,100
Less than   $1,200      $6,000       2            $200           $2,000     $600       $8,600
30’
                                                 14
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 16 of 32




BP provided the Settlement Program with a VoO Training Database that contains the names of
all people that attended training. We do not understand the basis for the CA comment that this
database “is incomplete and does not contain all of the VoO participants who completed the
necessary training.” We have re-confirmed with the BP personnel responsible for maintaining
this database that it is accurate and complete. As with all manual data entry for large databases,
there may be an occasional inadvertent error, which is why the framework allows for a claimant
to provide proof of training if the database indicates otherwise. BP agrees with PSC that if the
VoO Training Database shows that a claimant attended VoO training, the Settlement Program
should not require the claimant to provide proof that he attended training. To the extent that a
claimant contends the VoO Training Database inaccurately omits his name as a person who
received VoO training, the claimant can furnish proof of training. Every person that attended
VoO training was given a card with their name on it showing that they attended training (called
the “yellow card”). VoO participants were required to provide the card before being allowed to
leave the dock. Thus, a claimant who is not listed in the VoO Training Database as having
completed VoO training but who furnishes a yellow card should be treated by the Settlement
Program as having completed training. Moreover, since all VoO participants that were placed
on-hire were required to have completed VoO training. Accordingly, BP agrees it is reasonable
to assume that a VoO claimant that was placed on-hire did attend training even if the claimant’s
name does not appear in the VoO Training Database.

BP requests that the Claims Administrator consider modifying the proposal to make
presumptions regarding the VoO Training requirement to address the considerations we have
raised.

Class Counsel’s Response: We agree with the recommendation. First, there is no training
“requirement” for a Working VoO Participant; the definitional language in Section 38.170 aside,
the intent was to compensate anyone with a charter agreement who had been placed on-hire; it
was assumed that BP (or its sub-contractors) would not have placed anyone on-hire who had not
been thru the training; but if such a person exists, the intent (certainly from our point of view)
was that he or she be compensated. Second, there is no Documentation requirement for evidence
of training for a Working VoO Participant. Indeed, there are no specific VoO Documentation
requirements, as it was contemplated that, in the first instance, most of the determinations could
be made according to the “master” Database [i.e. “evidence of which shall include Charterers’
dispatch logs”]. Finally, this issue implicates the general standard of review / burden of proof in
applying the terms of the Settlement Agreement. Particularly where the formal Documentation
requirements (if any) are silent on the issue, or would allow for such a reading, the Program can
and should make reasonable inferences and conclusions (consistent with Sections 4.3.7 and
4.3.8) from the information provided on the claim form and the documentation provided in
support of a claim.

Do Parties’ Comments Provide Resolution? No

Program’s Final Recommendation: The Program will presume that payment for VoO work
equates to training. Currently, if the database does not contain a definitive finding of Working or
Non-Working status, we presume payment for more than one day’s pay as proof of Working
                                                15
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 17 of 32




status (pursuant to direction from Chris Esbrook). BP proposes that our threshold should be five
working days plus crew costs to presume a vessel was dispatched or placed on hire and thus
earned more than a nominal payment amount for training. Because the initial VoO training was
only four hours, we recommend maintaining the one-day payment threshold as proof of both
“Working” and training status.


13. VoO Charter Payment: Evaluating Multiple Claims for the Same Vessel.
       (a) Claims Administrator Questions. We previously received confirmation from the
           Parties that only one claimant may file a VoO Charter Payment claim on behalf of a
           vessel, specifically the person who signed the MVCA agreement. If we receive
           documentation suggesting that two people signed MVCA agreements for the same
           vessel, should we just pay one claimant, or both?

           Recommendation: We will pay each contract only once.


       (b) Examples to Guide Discussion. (The real claimant and vessel names have been
           changed.)

           (1) John Smith submitted a claim for the vessel Miss Liberty for work performed
               under MVCA contract MOB-11111. In support of his claim, John submitted a
               hard copy of the MVCA that shows John as the signatory, but no other supporting
               documents.

              John’s brother, Robert Smith, submitted a claim for the same vessel and contract.
              In support of his claim, Robert submitted documents showing that Robert
              attended the initial VoO training, that Robert owns the vessel in question and a
              1099 from Danos & Curole showing VoO payments made to Robert.

              The VoO records that BP provided to us list Robert as the MVCA signatory.
              There is a conflict here as to who is the MVCA signatory.

              Recommendation. We will only pay each contract once. In this example, if we
              reviewed John’s claim first, we would find it incomplete for proof of training
              under the current protocol. If we reviewed Robert’s claim, which is complete, in
              the meantime and issued an Eligibility Notice, we would then deny John’s claim
              and issue a Denial Notice with an explanation that we already issued a Payment
              Notice for this contract.

           (2) Michael Jones has one vessel, but signed two MVCAs with two different
               charterers in the VoO program. He performed work under MVCA contract
               MOB-22222, for which BP was the Charterer. He did not perform work under
               MVCA contract HOU-12345, for which Lawson was the Charterer. He submits
               two claims for the vessel, one for each contract.

                                               16
#410697
    Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 18 of 32




                 Recommendation. We will only pay each vessel once, regardless of the number
                 of MVCAs the claimant signed. If the Working Status for the contracts differs,
                 with one or more being Working and another being Non-Working, we will issue a
                 Payment Notice with a Working Participant status and payment. In this example,
                 we would review the claim and issue a payable notice for the Claim Form
                 containing the contract under which the claimant has a Working Participant
                 status. If we cannot determine which contract is tied to the Claim Form because
                 the claimant does not include the contract numbers, we will issue a Payment
                 Notice for the first claim reviewed and use the Working Participant status, as it is
                 most beneficial to the claimant.

BP’s Response: With respect to Example (1), BP agrees that a contract is only paid once and
that the payment is to the MVCA signatory. In case of conflict between the portion of the
database that lists the MVCA signatory and the actual MVCA, the MVCA governs. In all
circumstances, the Claims Administrator has copies of the MVCA and should verify the database
entry.

With respect to Example (2), BP agrees with the recommendation to pay each vessel only
once.

Class Counsel’s Response: Class Counsel defer to the recommendation.4
4
 It may be, in the Michael Jones example, that there are actually two different vessels, and the MVCAs have the
wrong information. The Program might follow up with the claimant or his attorney to see whether a clarification
and/or additional documentation can be provided.

Do Parties Comments Provide Resolution? Yes

Program’s Final Recommendation: We will pay each vessel only once, regardless of the
number of contracts or signatories. In the case of an inconsistency between the VoO data and the
hard copy MVCA, we will use the hard copy MVCA to determine the appropriate signatory.

14. VoO Charter Payment: Confirming Vessel Length.

        (a) Claims Administrator Question. If the claimant submits a VoO invoice showing a
            vessel length range rather than a specific length, should we use this document to
            overrule the VoO data BP provided us?

        (b) Recommendation: No.


        (c) Example to Guide Discussion: Jane Brown submits a claim for the vessel Miss
            Cynthia. In support of her claim, Ms. Brown submits a vessel registration showing a
            vessel length of 29 feet and an invoice for the VoO program showing that she
            requested payment for the vessel’s work based on the >30 – 45 foot vessel length
            range. When we search the VoO records during the review, we find the vessel
            information, and it lists the vessel length as 29 feet.

                                                        17
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 19 of 32




           Recommendation. We will not use invoices containing vessel length ranges to
           determine vessel length. We will only use official documentation, such as a vessel
           registration or title, and the VoO records if they list the vessel. If the submitted
           documents conflict with the VoO records, we will use the greater length. We cannot
           use an invoice because it does not provide a specific length and the invoices are
           generally filled out by the VoO participants and are not verified by the VoO
           program.

BP’s Response: BP agrees with the recommendation.

Class Counsel’s Response: In this specific example, under the facts presented, we defer to the
recommendation. However, as a general matter, (and as we believe the Program has already
decided), the Claimant should be paid the optimal VoO rate based on the available
documentation. If, for example, there was evidence (either in documentation submitted by the
claimant or in the BP database) that BP had actually paid Jane Brown the 30-45 foot rate, the
claimant should get that rate under the Settlement Program, despite the existence of evidence that
the length (according to one measurement) may have only been 29 feet.

Do Parties’ Comments Provide Resolution? Yes

Program’s Final Recommendation: We will not use VoO invoices containing vessel length
ranges to determine vessel length.

15. VoO Charter Payment: Using a Notice of Decontamination to Prove Working Status.

   (a) Claims Administrator Question. If the claimant submits a Notice of Decontamination
       report, is this sufficient to prove that the claimant was dispatched or placed on hire in the
       VoO program, or were Non-Working vessels also decontaminated?

   (b) Recommendation. Yes.



BP Response: BP disagrees with the recommendation. See W. Bloom email attached in
response to no. 12 above.

Class Counsel’s Response: Generally, see Response to Issue No. 12, above, (and E-Mail from
Steve Herman to Christine Reitano, dated Tue 7/31/2012 3:00 PM). But, specifically, if someone
claims that he or she was placed on-hire, and has submitted a Notice of Decontamination in
support of that – and there is no contrary evidence in BP’s database – the Program can and
should reasonably conclude that the person was placed on-hire as claimed. Even if, in some
cases, Notices of Decontamination might have been sent to “non-working” VoO participants
who had never been placed on-hire, a decontamination would only be necessary for a vessel that
had been exposed to the oil. If BP has some other evidence or argument to challenge the
sufficiency of the Determination, then BP should appeal.

                                                18
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 20 of 32




Do Parties’ Comments Provide Resolution? No

Program’s Final Recommendation: We will not use a Notice of Decontamination to prove a
vessel was dispatched or placed on hire.


16. Proposed FAQs.
   (a) Claims Administrator Question. Are the proposed FAQs circulated by Steve Herman
       on 7/21/12, approved for posting? These FAQs are included as an attachment to this
       memo.
       Recommendation: We should post the FAQs, as circulated by Steve Herman, except as
       follows:
       Because the Determination Notice does not use the words “deemed accepted,” and we
       have taken “deemed accepted” off of the Portal, we propose a change to the FAQ on that
       issue as follows:
              If I do not ask for Reconsideration of my offer within 30 days, will I no longer be
              able to Opt Out of the Settlement?
              No. If you do not seek Reconsideration in 30 days, you will not be able to later
              appeal or challenge the amount of that offer; however, you will still have the right
              to Opt-Out until either the expiration of the Opt-Out Deadline or the execution of
              an Individual Release.
BP Response: BP’s comments on the FAQs are as follows:

FAQ 55: BP believes that the following phrase should be added at the beginning of the FAQ: “If
you are a Class Member”

New FAQ re Accounting Fees: BP proposes the following clarification to the third sentence:
“However, the Settlement Program will only reimburse eligible Class Members…”

New FAQ re “Accepted” In Payment Notice: The question as currently drafted is a bit awkward
with a double negative. BP proposes the following change to the question simply for ease of
comprehension: “If I do not ask for Reconsideration of my offer within 30 days, does that
prevent me from being able to Opt Out of the Settlement?" BP proposes the following
clarification to the answer:

       “No. If you do not seek Reconsideration, you will not be able to later
       appeal or challenge the amount of that offer, however, you will have the
       right to Opt Out until the earlier of either the expiration of the Opt-Out
       Deadline or the execution of an Individual Release.”

FAQ 27-28 (2d priority). BP believes that these FAQs need to await filing and resolution of a
motion to amend the hold back order.
                                               19
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 21 of 32




Class Counsel’s Response: It is the word “accepted” that was causing the confusion. If that
term has been eliminated, then the proposed FAQ makes sense.
As a general matter, the Program should not wait indefinitely for BP to expressly approve of the
exact language in a proposed FAQ that is clear and correct on its face and has been circulated for
weeks. It is Class Counsel and the Program who are being peppered with questions that need to
be answered in a timely basis.

Do Parties’ Comments Provide Resolution? Yes.

Program’s Final Recommendation: We have incorporated BP’s clarifications into the FAQs.
We need to discuss on 8/7/12 whether to post now FAQ 27 – 28 (2d priority), which deal with
the 6% holdback, or await filing and resolution of a motion to amend the holdback Order. [See
attached FAQs for final language]

17. Subsistence. Compensation Formula for Consumption Losses.
   (a) Claims Administrator’s Question. What compensation formula should we use to
       calculate compensation for losses related to consumption?
       Recommendation: Use BP’s compensation formula to calculate compensation for losses
       related to consumption. Exhibit 9, Section B(2)(c) requires that quantities of lost natural
       resources do not exceed reasonable consumption rates. BP’s example calculation
       provided a method for which we could use to calculate reasonable consumption rates.
   (b) 7/18/12 Meeting. BP. BP agreed with our recommendation.
BP’s Response: BP continues to support the Claims Facility’s recommended approach. We
disagree with Class counsel’s characterization of the parties’ intent in Class Counsel’s 7-31-12
memo.


Class Counsel’s Response: The Subsistence framework was not intended to be tethered to
calorie counts. The “reasonable consumption” language in the Subsistence framework was
intended to mean that a claim amount should be held to a reasonableness standard in the context
of Gulf of Mexico subsistence use. The reasonableness standard was not intended to act as a cap
or to play any part in the subsistence compensation calculation itself; it is solely a reference
point. [Plaintiffs’ suggested Calculation is submitted for reference herewith.]
Do Parties’ Comments Provide Resolution ? No
Program’s Final Recommendation: The Program will use BP’s compensation formula to
calculate compensation for losses related to consumption. Exhibit 9, Section B(2)(c) requires
that quantities of lost natural resources do not exceed reasonable consumption rates. BP’s
example calculation provided a method for which we could use to calculate reasonable
consumption rates.
18. Subsistence. Verification of Bartering Losses.

                                                20
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 22 of 32




   (a) Claims Administrator’s Question. May we require third party affidavits to verify
       bartering losses?
       Recommendation: Yes
BP’s Response: BP agrees with the recommendation. The Subsistence Framework § C.4.a
expressly authorizes the Claims Administrator to obtain such affidavits.

Class Counsel’s Response: The Subsistence framework does not include any requirement that
bartering losses be verified separately from consumption losses. The framework focuses
(correctly) on the amount of resources the claimant harvested for subsistence use (where “use”
includes barter, trade, and consumption); the claimed amount need only be reasonable in the
context of other Gulf of Mexico subsistence users. The submission of third-party affidavits from
all individuals with whom a claimant barters is (i) not required (not even implicitly) by the
Subsistence framework, and (ii) overburdensome and impractical to require claimants to track
down and ask for affidavits from every person they may have bartered with during an 18-month
period several years ago.

Do Parties’ Comments Provide Resolution? No

Program’s Final Recommendation: To verify Subsistence losses related to bartering, we
recommend that we require Third Party Affidavits from all individuals with whom a claimant
barters. If a claimant cannot locate the individuals with whom he or she barters, the claimant
may submit Third Party Affidavits from other individuals with personal knowledge of the
claimant’s bartering instead.

19. Subsistence. Updated Seafood and Game Retail Price Chart.
   (a) Claims Administrator’s Question. What Seafood and Game Retail Price Chart should
       we use?
   (b) Recommendation: We use Class Counsel’s updated price chart.
BP Response: BP believes the Claims Facility should adhere to its proposed approach discussed
on July 18:

“Our proposed price chart includes BP’s values for Seafood and Game from May to December
2010, and May to December 2011, Class Counsel’s recommended value for frogs, and our
recommendations for alligator and turtle.”

This recommendation is supported by the fact that the original price chart provided by Class
Counsel was not based on actual retail prices, unlike BP’s chart, which reflected 2010 and 2011
retail prices. The new Class Counsel proposed retail price chart circulated on July 18, 2012
purports to provide retail prices as of 2-10-12. First, it does not make sense to base compensation
for loss of resources in 2010 and/or 2011 on 2012 price. Second, no source is provided showing
that these are actual retail prices; to the contrary, the spreadsheet reflects that Class Counsel have
simply purported to list three times the wholesale price as the alleged “retail” price. There is no
support for this assumption.
                                                    21
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 23 of 32




Class Counsel’s Response: Class Counsel is submitting herewith an updated Retail Price Chart,
(which we believe was circulated on July 18th). We agree with Brown Greer's approach to
identifying current retail pricing in order to update the (out-of-date) GCCF-sourced prices; thus,
as discussed at the meeting, this chart should only be used to ensure that all of the species listed
on the Class Counsel Chart are also listed on the final Retail Price Chart. Brown Greer was to
use their retail pricing method to determine the updated prices for all of the species added to the
final Retail Price Chart from plaintiffs’ chart.

Do Parties’ Comments Provide Resolution ? No

Program’s Final Recommendation: After our 7/18/12 meeting with the Parties, we
recommended using an updated version of Class Counsel’s chart because it included values for
specific Seafood and Game species, and it was to include post-Spill retail values. However, after
reviewing Class Counsel’s updated chart, we observed that it continues to include Worley’s 2008
and 2009 retail values for Seafood and Louisiana’s restitution values for Game. Exhibit 9,
Section B(3) requires that we use post-Spill retail values to calculate the total value of lost
Subsistence resources. To comply with the requirements of Exhibit 9, Section B(3), we return to
our original recommendation that we use BP’s values for Seafood and Game from May to
December 2010, and May to December 2011, Class Counsel’s recommended value for frogs, and
our recommendations for alligator and turtle.

20. Zone A Mapping Question.
   (a) Question. Should Key Largo, FL be included in Zone A? What compensation formula
       should we use to calculate compensation for losses related to consumption?
   (b) Outstanding or New Issue? Outstanding. This issue first arose on 7/17 from Plaintiffs’
       counsel, Brian Barr.
   (c) Recommendation. Need input from the Parties on the intention of the Settlement
       Agreement.
BP Response: BP maintains its position. At no point during negotiations did Class Counsel ever
propose North Key Largo as part of Zone A. BP is providing to Class Counsel and can share
with the Claims Facility the emails and KML maps supplied by Class Counsel during the
negotiation. The zones were negotiated through exchange of maps and descriptions were agreed
upon after the maps were agreed upon and finalized. The map accurately reflects that North Key
Largo is not in Zone A. Class Counsel’s interpretation of the description would make it
inconsistent with the map. The description intends that “Key Largo” refer to the city of Key
Largo, not the entire key.

Class Counsel’s Response: Exhibit 1B, (at Bates Page 028276), Section A-28, sets out the
following language in describing Zone A for the Florida Keys: “This zone consists of the
entirety of the series of islands off the south coast of Florida stretching from Key West [an
island] in the south/west to Key Largo [an island] in the north/east” (emphasis added). The
Settlement Agreement defines this zone through the use of islands – not cities. There is simply

                                                22
#410697
 Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 24 of 32




no other way for this language to be interpreted if we are going to give meaning to the words
“entirety of the series of islands.” BP is attempting to change the description to a description of
municipalities by taking the position that the city of North Key Largo, which is on the eastern
end of the island of Key Largo, is not included in Zone A. However, the zone is not described in
terms of municipalities. If the parties had desired to split the island of Key Largo into Zone A
and Zone D, the parties knew how to do that. All zones in Exhibit 1B are defined precisely.
There are exact geographical boundaries described. The position taken by BP that Zone A ends
somewhere “just north of U.S. Highway 1” is not described anywhere in the settlement
agreement. That interpretation would be completely inconsistent with every other zone
described. Given that there is no description in the settlement of an eastern boundary of Zone A
somewhere east of Highway 1A prior to North Key Largo, it should be clear that the parties
intended that the entire island of Key Largo be included in Zone A. Otherwise, the inclusion of
the phrase “entirety of the series of islands” is meaningless.

Do Parties’ Comments Provide Resolution? No.

Program’s Final Recommendation: The Program cannot decide this issue, because it rests on
what the Parties’ negotiated and what the Settlement Agreement means. We encourage the
Parties to be prepared to discuss this fully at the 8/7/12 meeting.




                                                23
#410697
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 25 of 32




4. What happened to the $20 billion BP set aside in August 2010 to pay for damage caused

by the Deepwater Horizon Incident?

            [PARTIES AGREE THIS FAQ IS UNNECESSARY]



11. Are any Individuals or Entities excluded from the Economic Class?

            Yes. The following Individuals and Entities are excluded from the Economic Class:

                         Those who choose to exclude themselves from (“Opt Out” of) the

                          Economic Class (Click Here to jump to Section III for more information

                          on Opting Out)

                         Those who received a payment from the GCCF and executed a GCCF

                          Release and Covenant Not to Sue (except those who seek a VoO Charter

                          Payment Claim or Vessel Physical Damage Claim or those who signed a

                          release that only covered bodily injury)

                         Defendants in MDL 2179 and current employees of BP and other

                          Defendants in MDL 2179

                         Former Employees of BP and other Defendants in MDL 2179 who were

                          employed by BP and other Defendants during the Class Period

                         Any sitting Judges of the United States District Court for the Eastern

                          District of Louisiana and their immediate families

                         Law clerks who served in the United States District Court for the Eastern

                          District of Louisiana during the pendency of MDL 2179 and their

                          immediate families




1036742.1
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 26 of 32




                   The following Entities and their employees (to the extent they allege economic

                   damage based on their employment by such entity during the Class Period) are

                   excluded, subject to certain exceptions:

                          Certain Financial Institutions [link to Ex. 18]

                          Certain Funds, Financial Trusts, and Other Financial Vehicles [link to

                           Ex. 18]

                          Certain Gaming Entities [link to Ex. 18]

                          Certain Insurance Entities [link to Ex. 18]

                          Certain Oil and Gas Industry Entities [link to Ex. 17]

                          Certain Defense Contractors/Subcontractors

                          Entities selling or marketing BP-branded fuel, including jobbers and

                           branded dealers

                          Certain Real Estate Developers, including those that develop commercial,

                           residential, or industrial properties, (except that these Entities can make

                           claims for Coastal Real Property Damage, Wetlands Real Property, and

                           Real Property Sales Damage);

                          Governmental Organizations

            More detail on the exceptions to the exclusion of Entities in these industries and their

employees can be found in Sections 2 and 5.10 of the Settlement Agreement. [link to Section 2

and 5.10].

                    [SA 2 and 5.10]




1036742.1                                            -2-
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 27 of 32




22. If I qualify as an Economic Class Member, am I required to participate in the

Settlement?

            No. If you do not want to participate in this Settlement you have the right to Opt Out

(i.e., exclude yourself from the Economic Class). The Economic Class Action Settlement Notice

provides instructions regarding the procedures that must be followed to Opt Out of the Economic

Class.

            In the event you decide to Opt Out of the Class, the Settlement Program will not continue

to process any claim you have submitted, or thereafter submit, to the Program.

            To validly exclude yourself from the Economic Class, you must submit a written request

stating “I wish to be excluded from the Economic Class.” The request must include your printed

name, address and phone number and must be postmarked no later than October 1, 2012. The

written request must be signed by the Natural Person or Entity seeking to exclude himself,

herself or itself from the Economic Class, even if they are represented by an attorney. Electronic

signatures will not be accepted. The request should be mailed to:

                   Deepwater Horizon Court-Supervised Settlement Program
                   Exclusions Department
                   P.O. Box 222
                   Hammond, LA 70404-0222

                    [SA 8.2.1]



28. If I’m an Economic Class Member and I Opt Out, may I sue BP or file a claim with the

federal Oil Spill Liability Trust Fund?

            Yes, provided you do so in a timely manner and have satisfied the applicable legal

requirements including the presentment requirement of the Oil Pollution Act of 1990, 33 U.S.C.

§ 2713.




1036742.1                                           -3-
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 28 of 32




            If you have questions about filing a lawsuit, you should contact an attorney of your

choice. You (or your attorney) may also consult with Class Counsel at (855) 359-2327 or

classcounseloffice@mdl2179psc.com.

            For more information about how to file an OPA claim with BP visit www.bp.com/claims

or call 1-855-687-2631.

            For more information about how to file a claim with the federal Oil Spill Liability Trust

Fund, visit http://www.uscg.mil/npfc/Claims/default.asp. If you choose to file with the Federal

Oil Spill Liability Trust Fund instead of filing suit, you must strictly comply with the Federal

Regulations pertaining to such.



29. If I am not an Economic Class Member, can I still sue BP for alleged damages arising

out of the Deepwater Horizon incident or file a claim with the federal Oil Spill Liability

Trust Fund?

            Yes, provided you do so in a timely manner and have satisfied the applicable legal

requirements including the presentment requirement of the Oil Pollution Act of 1990, 33 U.S.C.

§ 2713.

            If you have questions about filing a lawsuit, you should contact an attorney of your

choice. You (or your attorney) may also consult with Class Counsel at (855) 359-2327 or

classcounseloffice@mdl2179psc.com.

            For more information about how to file an OPA claim with BP visit www.bp.com/claims

or call 1-855-687-2631.

            For more information about how to file a claim with the federal Oil Spill Liability Trust

Fund, visit http://www.uscg.mil/npfc/Claims/default.asp. If you choose to file with the Federal




1036742.1                                           -4-
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 29 of 32




Oil Spill Liability Trust Fund instead of filing suit, you must strictly comply with the Federal

Regulations pertaining to such.



55. I had a pending offer from the GCCF when the Transition Process opened and I

accepted the 60% payment that the Transition Process offered. What do I need to do now?

            If you are a Class Member, you may now file a claim with the Settlement Program. All

of your claims-related information, files, and data that you previously submitted to the GCCF or

the Transition Process have been transferred to the Settlement Program, but the Settlement

Program will not begin to review your file unless and until you file a claim with the Settlement

Program. (Click Here to jump to FAQs about how to file a claim.)

                   Once the Settlement Program has reviewed your claim, you will receive your

Settlement Payment less any amounts paid during the Transition Process or the remaining 40%

of your GCCF offer, whichever is larger, in exchange for executing a release.

                   If you do not wish to file a claim in the Settlement Program, you may choose to

receive the remaining 40% of your GCCF offer in exchange for executing a release. (NOTE –

You will be giving up your right to any and all additional claims.)

                   If you Opt Out of the Settlement, or if you are not an Economic Class Member,

you can choose to receive the remaining 40% of your GCCF offer in exchange for a release, or

you can also choose to forego the remaining 40% and pursue any rights available to you outside

of the Settlement. [SA 4.2.3.1, 4.4.2, 4.4.5]


2d ½ Priority FAQ 17: If I opt out of the Settlement, how do I elect to receive the remaining

40% of my Transition Process Offer?

            [PARTIES AGREED TO DELETE AS DUPLICATIVE]




1036742.1                                          -5-
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 30 of 32




2d ½ Priority FAQ 27: I had 6% withheld from my Transition Process payment. Will I get

that money back?

            If you are an Economic Class Member and you choose to participate in the Settlement

Program, yes. If you are not an Economic Class Member, or if you Opt Out of the Settlement,

then the funds will be held in trust. Once the Court has determined what, if any, common benefit

fees may be awarded, any excess will be returned to you.


2d ½ Priority FAQ 28: I had 6% withheld from a GCCF payment I received before

February 26, 2012. Will I get that money back?

            These funds are being held in trust. After the Court has determined what, if any,

common benefit fees may be awarded, any excess will be returned to you.



NEW FAQ RE ACCOUNTING FEES

The Claimant Accounting Support section of the Settlement Agreement says that the

reasonable and necessary time for accounting services will only be reimbursed up to

certain specific standard hourly rates (Click Here to see those hourly rates). Can I hire an

accountant at rates or fees that are greater than what is spelled out in the Settlement

Agreement?

            Yes. You are free to hire the accountant of your choice. However, the Settlement

Program will only reimburse eligible Class Members for reasonable and necessary accounting

fees as set forth in the Settlement (Click Here [FAQ 101]). In addition, the total amount of

reimbursable accounting fees are subject to specific limits based on the type of claim you submit

(Click Here to read more about those limits). As a result, if you hire an accountant who charges



1036742.1                                           -6-
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 31 of 32




an hourly rate or other fees that are greater than what is provided under the Settlement

Agreement, you (and not the Settlement Program or BP) will be responsible for the difference.



NEW FAQ RE CONFIDENTIALITY

Will information that I submit to the Settlement Program be treated as confidential?

            Yes. The Court has entered an Order that addresses the confidential treatment of

information submitted by a claimant to the Settlement Program. (Click Here to see a copy of the

Order)



NEW FAQ RE NON-PROFITS

Are non-profit entities eligible to participate in the Settlement Program?

            Yes, non-profit entities are generally eligible to participate in the Settlement Program

unless they are excluded as Governmental Organizations [link to definition] (or some other

Exclusion).



NEW FAQ RE “ACCEPTED” IN PAYMENT NOTICE [Edits proposed by BrownGreer]

If I do not ask for Reconsideration of my offer within 30 days, does that prevent me from

being able to Opt Out of the Settlement?

            No. If you do not seek Reconsideration, you will not be able to later

appeal or challenge the amount of that offer; however, you will have the right to

Opt Out until the earlier of eitherthe expiration of Opt-Out Deadline or the

execution of an Individual Release.




1036742.1                                            -7-
  Case 2:10-md-02179-CJB-DPC Document 8963-52 Filed 03/20/13 Page 32 of 32




NEW FAQ RE SIX-MONTH PERIOD UNDER SECTION 4.4.8

Section 4.4.8 of the Settlement Agreement (and Section 18 of the Individual Release) afford

Class Members six months from the date of the “initial payment” to file additional Claims

with the Settlement Program. How do I determine the date of initial payment?

            The Settlement Program interprets “initial payment” to mean the date of the first check

(even if, for some reason, the check needs to be reissued) or the date of the wire transfer. For

ease of implementation and tracking, we will calculate “six months” as 180 days.




1036742.1                                           -8-
